




Dismissed and Memorandum Opinion filed May 21, 2009








Dismissed
and Memorandum Opinion filed May 21, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00152-CV

____________

&nbsp;

VERNICE ANTRELL RUCKER,
Appellant

&nbsp;

V.

&nbsp;

CDPB SIERRA PINES, LLC,
Appellee

&nbsp;



&nbsp;

On Appeal from the County Civil
Court at Law No. 1

Harris County, Texas

Trial Court Cause No.
931769

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This
appeal is from a judgment signed February 2, 2009.&nbsp; No clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 








On April
6, 2009, notification was transmitted to all parties of the Court's intent to
dismiss the appeal for want of prosecution unless, within fifteen days,
appellant paid or made arrangements to pay for the record and provided this
court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).

Appellant
has not provided this court with proof of payment for the record. Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Panel consists of Justices Anderson, Guzman, and
Boyce. 

&nbsp;





